                                                                                                                                                 4/08/19 6:14PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Oak Street Planing Mill, L.L.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA The Planing Mill, L.L.C.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  308 W. Mill
                                  Plainville, KS 67663
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Rooks                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    The Oak Street Planing Mill, L.L.C.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   The Oak Street Planing Mill, L.L.C.                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    The Oak Street Planing Mill, L.L.C.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 8, 2019
                                                  MM / DD / YYYY


                             X   /s/ Charles G. Comeau                                                    Charles G. Comeau
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Edward J. Nazar                                                       Date April 8, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Edward J. Nazar
                                 Printed name

                                 Hinkle Law Firm LLC
                                 Firm name

                                 1617 N. Waterfront Parkway, Suite 400
                                 Wichita, KS 67206
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     316-267-2000                  Email address      enazar@hinklaw.com

                                 09845 KS
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name The Oak Street Planing Mill, L.L.C.
 United States Bankruptcy Court for the: DISTRICT OF KANSAS                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dessin Fournir                                                                                                                                                           $10,758.70
 308 W Mill
 Plainville, KS 67663
 Ellis County                                                                                                                                                               $5,149.85
 Treasurer
 718 Main St.
 Hays, KS 67601




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name         The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                  $75.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Bank of Hays
           3.1.     Balance as of 2/28/19                                   Business Checking               9934                                         $15.90



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $90.90
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         The Oak Street Planing Mill, L.L.C.                                              Case number (If known)
                Name


        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of       Valuation method used   Current value of
                                                      physical inventory         debtor's interest       for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Raw Goods                                                                           $0.00                                       $85,234.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                            $85,234.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of       Valuation method used   Current value of
                                                                                 debtor's interest       for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office Furniture and Equipment
           See Attached                                                                        $0.00                                      $579,608.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         The Oak Street Planing Mill, L.L.C.                                           Case number (If known)
                Name

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $579,608.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 201 E. 12th St.
                     Hays, KS 67601
                     Appraisal value as of
                     May 24, 2018                                                           $0.00                                       $730,000.00




 56.       Total of Part 9.                                                                                                           $730,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         The Oak Street Planing Mill, L.L.C.                                          Case number (If known)
                Name

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 4
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 Debtor          The Oak Street Planing Mill, L.L.C.                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                      Current value of real
                                                                                                     personal property                     property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $90.90

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $85,234.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $579,608.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                          $730,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $664,932.90             + 91b.              $730,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $1,394,932.90




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                             page 5
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 Fill in this information to identify the case:

 Debtor name         The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
 2.1   Bank of Hays                                   Describe debtor's property that is subject to a lien                 $7,563,729.25                       $0.00
       Creditor's Name                                All real estate, all inventory and assets, life
                                                      insurance policy on Charles G. Comeau
       1000 W 27th ST.                                worth $6,000,000.00 owned by Dessin
       P O Box 640                                    Fournir, Inc.
       Hays, KS 67601
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Sunflower Bank                                 Describe debtor's property that is subject to a lien                   $449,940.17               $730,000.00
       Creditor's Name                                201 E. 12th St.
                                                      Hays, KS 67601
       3025 Cortland Circle                           Appraisal value as of May 24, 2018
       Salina, KS 67401
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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 Debtor       The Oak Street Planing Mill, L.L.C.                                                Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




                                                                                                                         $8,013,669.4
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    2

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Aaron O. Martin
        129 South Eighth Street                                                                           Line   2.2
        Salina, KS 67402

        Creath L. Pollak
        8080 E. Central Ave., #300                                                                        Line   2.1
        Wichita, KS 67206




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $10,758.70
           Dessin Fournir                                                       Contingent
           308 W Mill                                                           Unliquidated
           Plainville, KS 67663                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $5,149.85
           Ellis County Treasurer                                               Contingent
           718 Main St.                                                         Unliquidated
           Hays, KS 67601                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                      related creditor (if any) listed?                   account number, if
                                                                                                                                                          any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                         15,908.55

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              15,908.55




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Charles Comeau                    400 S. Jefferson St.                                                                 D
                                               Plainville, KS 67663                                                                 E/F
                                                                                                                                    G




    2.2      Christopher Mraz                  265 Second Street                                                                    D
                                               Belmont, MS 38827                                                                    E/F
                                                                                                                                    G




    2.3      DFC Holdings,                     308 W. Mill St.                                                                      D
             Inc.                              Plainville, KS 67663                                                                 E/F
                                                                                                                                    G




    2.4      Lenice Larsen                     859 Eaton Dr.                                                                        D
                                               Pasadena, CA 91107-1837                                                              E/F
                                                                                                                                    G




    2.5      Robert Plante                     101 SW 5th St.                                                                       D
                                               Plainville, KS 67663                                                                 E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       The Oak Street Planing Mill, L.L.C.                                            Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Shirley Comeau                    400 S. Jefferson                                                             D
                                               Plainville, KS 67663                                                         E/F
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name            The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:                       DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           730,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           664,932.90

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,394,932.90


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        8,013,669.42


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            15,908.55


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           8,029,577.97




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 8, 2019                           X /s/ Charles G. Comeau
                                                                       Signature of individual signing on behalf of debtor

                                                                       Charles G. Comeau
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         The Oak Street Planing Mill, L.L.C.

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       The Oak Street Planing Mill, L.L.C.                                                           Case number (if known)



           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address
       7.1.    Bank of Hays                                      Civil                        Ellis County District Court                 Pending
               2018-CV-000150                                                                 107 W. 12th Street                          On appeal
                                                                                              Hays, KS 67601
                                                                                                                                          Concluded

       7.2.    Sunflower Bank, N.A.                              Civil                        Ellis County District Court                 Pending
               2018-CV-000039                                                                 107 W. 12th Street                          On appeal
                                                                                              Hays, KS 67601
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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 Debtor        The Oak Street Planing Mill, L.L.C.                                                      Case number (if known)




11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates      Total amount or
                 the transfer?                                                                                                                     value
                 Address
       11.1.                                                                                                                   4/10/18,
                                                                                                                               5/17/18,
                 Air Capital, Inc.                                                                                             6/20/18,
                 12340 Seal Beach blvd.                                                                                        7/18/18,
                 Ste B348                                                                                                      9/30/18,
                 Seal Beach, CA 90740                                                                                          9/30/18        $60,655.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Big Sky Partners LLc
                 800 Fifth Ave, 6B
                 New York, NY 10065                                                                                            11/30/18       $10,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.3.     Noel Richard Fox
                 19501 S. State Route 291                                                                                      1/9/19,
                 Pleasant Hill, MO 64080                                                                                       2/25/19        $10,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.4.     Hinkle Law Firm LLC
                 1617 N. Waterfront Parkway,                                                                                   3/20/19,
                 Suite 400                                                                                                     4/3/19,
                 Wichita, KS 67206                                                                                             4/8/19         $32,035.80

                 Email or website address
                 enazar@hinklaw.com

                 Who made the payment, if not debtor?




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 Debtor        The Oak Street Planing Mill, L.L.C.                                                       Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.5.
                 Glass Ratner
                                                                                                                               3/15/19                $25,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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 Debtor      The Oak Street Planing Mill, L.L.C.                                                        Case number (if known)



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Suzanne Tucker Home                                           108 N. Main St.                      Fabrics                                    Unknown
       58 Maiden Ln., 4th Floor                                      Plainville, KS 67663
       San Francisco, CA 94108

       Owner's name and address                                      Location of the property             Describe the property                            Value
       The Basics, LLC                                               108 N. Main                          Fabrics                                    Unknown
       308 W Mill                                                    Plainville, KS 67663
       Plainville, KS 67663


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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 Debtor      The Oak Street Planing Mill, L.L.C.                                                        Case number (if known)




      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Nancy Handley                                                                                                              1/17/2000 - Present
                    308 W. Mill St.
                    Plainville, KS 67663
       26a.2.       Tim Norris                                                                                                                 10/8/18 - Present
                    308 W. Mill St.
                    Plainville, KS 67663
       26a.3.       Austin Rice                                                                                                                8/16/18 - 10/5/18
                    14932 Rhodes Cir.
                    Lenexa, KS 66215



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      The Oak Street Planing Mill, L.L.C.                                                        Case number (if known)



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.4.       John Garvert                                                                                                        2/7/2000 - 7/25/18
                    809 S. Commercial St.
                    Plainville, KS 67663
       26a.5.       Sheila Hachmeister                                                                                                  5/18/1998 - 4/30/18
                    2515 31 Rd.
                    Natoma, KS 67651

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Adams, Brown, Beran & Ball Chtd.
                    Certified Public Accountants
                    P O Box 1186
                    718 Main St., Ste 2246
                    Hays, KS 67601

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       The Oak Street Planing Mill, LLC
                    308 W. Mill
                    Plainville, KS 67663
       26c.2.       Nancy Handley
                    308 W. Mill
                    Plainville, KS 67663
       26c.3.       Tim Norris
                    308 W. Mill
                    Plainville, KS 67663

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.




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 Debtor      The Oak Street Planing Mill, L.L.C.                                                        Case number (if known)



               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Chris Hansen
       .                                                                                    12/30/17                 174,556.29

               Name and address of the person who has possession of
               inventory records
               Chris Hanson
               308 W Mill
               Plainville, KS 67663


       27.2 Chris Hansen
       .                                                                                    12/31/18                 191,777.65

               Name and address of the person who has possession of
               inventory records
               Chris Hansen
               308 W Mill
               Plainville, KS 67663


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Charles Comeau                                 400 S. Jefferson                                    CEO, Controlling Shareholder
                                                      Plainville, KS 67663



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       AJ Schwartz                                                                                        Board of Directors


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Kermit Birchfield                                                                                  Board of Directors


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Troy Hixon                                                                                         Board of Directors


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Anthony Schmidt                                                                                    Board of Directors




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 Debtor      The Oak Street Planing Mill, L.L.C.                                                        Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Christopher Mraz                                                                                   Board of Directors


       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Len Larsen                                                                                         Board of Directors



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    DFC Holdings, Inc.                                                                                         EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 8, 2019

 /s/ Charles G. Comeau                                                  Charles G. Comeau
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re       The Oak Street Planing Mill, L.L.C.                                                              Case No.
                                                                               Debtor(s)                      Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $
             Prior to the filing of this statement I have received                                        $
             Balance Due                                                                                  $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $                        0.00
             The undersigned shall bill against the retainer at an hourly rate of                         $                      350.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 See DFC Holdings, Inc. (Parent Company)

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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 In re       The Oak Street Planing Mill, L.L.C.                                                     Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 8, 2019                                                              /s/ Edward J. Nazar
     Date                                                                       Edward J. Nazar
                                                                                Signature of Attorney
                                                                                Hinkle Law Firm LLC
                                                                                1617 N. Waterfront Parkway, Suite 400
                                                                                Wichita, KS 67206
                                                                                316-267-2000 Fax: 316-264-1518
                                                                                enazar@hinklaw.com
                                                                                Name of law firm




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           Aaron O. Martin
           129 South Eighth Street
           Salina KS 67402


           Bank of Hays
           1000 W 27th ST.
           P O Box 640
           Hays KS 67601


           Charles Comeau
           400 S. Jefferson St.
           Plainville KS 67663


           Christopher Mraz
           265 Second Street
           Belmont MS 38827


           Creath L. Pollak
           8080 E. Central Ave., #300
           Wichita KS 67206


           Dessin Fournir
           308 W Mill
           Plainville KS 67663


           DFC Holdings, Inc.
           308 W. Mill St.
           Plainville KS 67663


           Ellis County Treasurer
           718 Main St.
           Hays KS 67601


           Lenice Larsen
           859 Eaton Dr.
           Pasadena CA 91107-1837


           Robert Plante
           101 SW 5th St.
           Plainville KS 67663


           Shirley Comeau
           400 S. Jefferson
           Plainville KS 67663


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       Sunflower Bank
       3025 Cortland Circle
       Salina KS 67401




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                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re      The Oak Street Planing Mill, L.L.C.                                                         Case No.
                                                                                 Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 8, 2019                                            /s/ Charles G. Comeau
                                                                      Charles G. Comeau/President
                                                                      Signer/Title




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                                                               United States Bankruptcy Court
                                                                           District of Kansas
 In re      The Oak Street Planing Mill, L.L.C.                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 See Attached



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date April 8, 2019                                                          Signature /s/ Charles G. Comeau
                                                                                            Charles G. Comeau

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                         District of Kansas
 In re      The Oak Street Planing Mill, L.L.C.                                                              Case No.
                                                                                 Debtor(s)                   Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The Oak Street Planing Mill, L.L.C. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 See Attached




    None [Check if applicable]




 April 8, 2019                                                       /s/ Edward J. Nazar
 Date                                                                Edward J. Nazar
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for The Oak Street Planing Mill, L.L.C.
                                                                     Hinkle Law Firm LLC
                                                                     1617 N. Waterfront Parkway, Suite 400
                                                                     Wichita, KS 67206
                                                                     316-267-2000 Fax:316-264-1518
                                                                     enazar@hinklaw.com




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DFC Holdings, Inc.                   DFC Holdings LLC dba                    Therien LLC                           The Rien Corp. LLC           EB Manufacturing LLC                Kenneth Meyer LLC
(S-Corp.)                            Rose Cumming Chintzes                   XX-XXXXXXX                            XX-XXXXXXX                   XX-XXXXXXX                          XX-XXXXXXX
XX-XXXXXXX                           XX-XXXXXXX
                                                                             Showroom division of Therien          Manufacturing portion of     Erika Brunson Furniture             Looms & sells upholstery
Parent Company
                                     (Single member LLC disregarded          (Single member LLC                    Therien; includes Quatrain   manufacturing                       and fabric trims
                                     entity of DFC Holdings Inc.)            disregarded entity of                 product line sales;          (Single member LLC                  (Single member LLC
Includes Fritsch/DFC Distribution
                                                                             DFC Holdings Inc.)                    (Single member LLC           disregarded entity of               disregarded entity of
Owned by individual shareholders.
                                                                                                                   disregarded entity of        DFC Holdings Inc.)                  DFC Holdings Inc.)
                                                                                                                   DFC Holdings Inc.)




              Dessin Fournir        Classic Cloth        Palmer Hargrave         C.S. Post Inc.             DFC Corp.                                                 QR Inc. LLC
              Inc. (S-Corp.)        Inc. (S-Corp.)       Inc. (S-Corp.)          (S-Corp.)                  (S-Corp.)                                                 XX-XXXXXXX
              XX-XXXXXXX            XX-XXXXXXX           XX-XXXXXXX              XX-XXXXXXX                 XX-XXXXXXX
                                                                                                                                                                      Receives royalties
              Wholly owned by       Wholly owned by      Wholly owned by         Wholly owned by            Showroom division                                         on Quatrain sales
              DFC Holdings Inc.     DFC Holdings Inc.    DFC Holdings Inc.       DFC Holdings Inc.          (Includes both                                            from Therien and
              Includes Hand                                                                                 Chicago and New                                           owns inventory
              Painted Panels,                                                                               York) wholly                                              from Quatrain
              DF Leathers, Kerry                                                                            owned by DFC                                              purchase (Owned
              Joyce and Gérard                                                                              Holdings Inc.                                             10% Therien
              furniture product                                                                                                                                       Manufacturing;
              lines.                                                                                                                                                  90% FSSW)




              Planing Mill LLC
              XX-XXXXXXX

              A disregarded
              entity of Dessin
              Fournir Inc. Only
              activity is owning
              & leasing building
              to AFLAC in Hays.




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                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re      The Oak Street Planing Mill, L.L.C.                                                                   Case No.
                                                                                Debtor(s)                         Chapter    11


                               BUSINESS INCOME AND EXPENSES - SEE ATTACHED
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS                            (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                      $                0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                  $                      0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                         $                0.00
          4. Payroll Taxes                                                                                                     0.00
          5. Unemployment Taxes                                                                                                0.00
          6. Worker's Compensation                                                                                             0.00
          7. Other Taxes                                                                                                       0.00
          8. Inventory Purchases (Including raw materials)                                                                     0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                            0.00
          10. Rent (Other than debtor's principal residence)                                                                   0.00
          11. Utilities                                                                                                        0.00
          12. Office Expenses and Supplies                                                                                     0.00
          13. Repairs and Maintenance                                                                                          0.00
          14. Vehicle Expenses                                                                                                 0.00
          15. Travel and Entertainment                                                                                         0.00
          16. Equipment Rental and Leases                                                                                      0.00
          17. Legal/Accounting/Other Professional Fees                                                                         0.00
          18. Insurance                                                                                                        0.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                 0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                     TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                     TOTAL

          22. Total Monthly Expenses (Add items 3-21)                                                                              $                      0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                            $                      0.00




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                                                                                                                                                                DFC Holdings, Inc
                                                                                                                                                    Consolidated Balance Sheet
                                                                                                                                                                    12/31/2018

                                                 12/31/2017            12/31/2018                                                                                Division Closed                                          Division Closed                                                                                DFC Holdings, Inc. Breakout
                                                                                           Related
                                                Consolidated          Consolidated        Company             Dessin            Classic            Palmer                              DFC                                 Oak Street                             The Rein                           Kenneth                             Rose
                                                                                        Transactions          Fournir            Cloth            Hargrave          C.S. Post      Holdings, Inc.        DFC Corp.         Planing Mill       Therien, LLC          Corp            EB, Inc.          Meyer          DFC               Cummings           Fritsch

CURRENT ASSETS
 Cash & Cash Equivalents                    $         (182,839)   $          37,482     $         -       $     (41,662)    $      (6,453)    $          296    $           721    $     120,921     $      (17,940)      $              75   $    (16,325)   $         (50)    $      (1,300)   $       (800)   $     121,496     $         (575) $           -
 Accounts Receivable                                   272,259              331,478          (307,094)          190,586           211,736             (5,824)               268           24,744            118,260                  -              46,495           51,921               -               385            5,005             19,739
 Bond Fund Accounts                                      1,518                1,518                                 741                                  777
 Underpayments/Overpayments                            (14,866)             (57,484)                                               (57,026)                                                 (471)                                                                                                          13              (471)
 Inventory                                          11,133,782           10,252,568                            3,931,217         2,591,197           817,505            123,189        1,732,587               4,550             85,234                             837,020            94,712          35,357                            1,729,408           3,179
 Inventory - Unicap                                     57,582               57,582                                  -                 -              57,582                -                -                                                                                                                                                 -
 Prepaid Invoices                                      468,792              593,947                              281,433             3,976             4,621              6,092          154,320             38,021                  -             53,684            47,495             3,505             800          144,626              30,454         (20,759)
 Prepaid Expenses                                          800                  800                                  -                                                      -                                                                         800
 Work In Progress                                      520,924              590,505                              436,227                              12,182                -                                                        -                               77,546            64,550
 Construction in Progress                               11,339               11,339                                                                                                                          11,339
 Note Receivables - Shareholders                        31,028               31,028                                     -                 -                                               31,028                                                                                                                        31,028
 Note Receivables - Related Companies                      -                    -           (5,585,098)                                                                                5,585,098                                                  (797,722)         797,722                                          6,379,917            (794,819)
 Interest Receivable - Related Companies                   -                    -             (617,682)                                                                                  617,682                                                                                                                       617,682
 Other Current Assets                                      -                   (726)                                 -                (726)                                                                                          -                                   -                -
 Planing Mill Capital                                      -                    -           (1,137,637)        1,137,637
 Stock Investment                                      218,997              218,996                                                                                                      218,996                                                                                                                       218,996
 Security Deposits                                     221,291              223,359                                6,781                                                                  10,251            150,327                                 55,999                                                                                 10,251
 TOTAL CURRENT ASSETS                       $       12,740,608    $      12,292,393     $   (7,647,511)   $    5,942,961    $    2,742,704    $      887,139    $       130,269    $   8,495,158     $      304,557       $      85,309       $   (657,069)   $    1,811,654    $    161,467     $     35,754    $   7,518,280     $      994,458     $    (17,580)

FIXED ASSETS
  Fixed Assets                              $        2,200,089    $        2,182,806    $          -      $    1,197,172    $      269,059    $      106,995    $       139,233    $     101,223     $       234,256      $      39,489       $     47,006    $       48,372    $         -      $        -                        $       101,223
  Accumulated Depreciation                          (3,956,975)           (4,194,591)                         (2,090,521)         (531,296)         (159,322)          (190,108)        (125,454)           (727,377)          (195,287)           (93,766)          (81,460)                                               -             (125,454)
  Showroom Inventories                                 177,674               187,676                             187,676
  Organization Costs                                    28,467                24,174                                   85                              1,362                              22,727                                                       -                 -                -                             22,727
  Building & Improvements                            3,153,355             3,153,355                           1,624,923          662,444            169,134                             101,619             55,000             540,234                                                                                101,619
  Leasehold Improvements                             1,855,135             2,014,045                              57,678          249,977                                10,866                             824,429                                742,901          115,000                            13,195
  Accumulated Amortization                            (186,405)             (206,318)                                -            (46,922)                                  -             (27,029)                                                (118,367)         (10,350)                           (3,650)                             (27,029)
  Sales Tax Bond                                            50                    50                                                                                                                                 50
  Prototypes                                           178,065               178,065                             126,239                                                 51,826
  TOTAL FIXED ASSETS                        $        3,449,455    $        3,339,261    $          -      $    1,103,251    $     603,261     $      118,170    $        11,818    $      73,087     $      386,358       $     384,437       $   577,774     $      71,562     $         -      $      9,545    $     124,346     $       (51,260) $          -

OTHER ASSETS
 Goodwill                                   $          157,183    $         147,148     $         -       $             -   $             -   $       61,042    $        86,106    $          -      $           -        $          -        $        -      $          -      $         -      $        -      $          -    $             -      $        -
 Stock - Related Companies                                 -                    -            (431,529)                                                                                    431,529                                                                                                                       431,529
 Investment - Related Companies                            -                    -           4,425,575                                                                                  (4,425,575)                                                                                                                   (4,425,575)
 Accumulated Depreciation - Org. Costs                 (20,005)              (1,445)                                (85)                              (1,360)
 Bond Issue Costs                                       26,142               26,142                              16,265                                9,876
 Loan Origination Costs                                 23,934               25,901                              12,584              1,842                                                 6,538                                    644                                  -                              4,293            6,538
 Other Non-Current Assets                              246,594              260,643                              11,034                                6,953                473          242,446                                                                         -                               (262)         263,446
 Trademark                                              36,054               21,000                                                                                                       21,000
 Capital Investment - Q.R. Inc.                         70,155               71,422                                                                                                                                                                                  71,422
 Accumulated Amortization                             (143,509)            (171,208)                             (32,109)                            (12,044)               -            (127,055)                                                                      -                                                                 (127,055)
 TOTAL OTHER ASSETS                         $          396,548    $         379,603     $   3,994,046     $        7,689    $        1,842    $       64,467    $        86,578    $   (3,851,118)   $           -        $         644       $        -      $      71,422     $         -      $      4,031    $   (3,724,062) $        (127,055) $          -

TOTAL ASSETS                                $       16,586,610    $      16,011,257     $   (3,653,465)   $    7,053,900    $    3,347,808    $    1,069,776    $       228,665    $   4,717,127     $      690,915       $     470,389       $    (79,295)   $    1,954,638    $    161,467     $     49,330    $   3,918,564     $      816,143     $    (17,580)




                                                                                                                                                                    Page 1 of 4
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                                                                                                Related
                                                     Consolidated          Consolidated        Company             Dessin               Classic            Palmer                                 DFC                                Oak Street                              The Rein                           Kenneth                           Rose
                                                                                             Transactions          Fournir               Cloth            Hargrave           C.S. Post        Holdings, Inc.          DFC Corp.      Planing Mill      Therien, LLC            Corp            EB, Inc.          Meyer         DFC              Cummings            Fritsch
CURRENT LIABILITIES
 Accounts Payable                               $         3,316,257    $       4,622,225     $    (307,076)    $    1,224,492       $     461,231     $      162,640     $       192,057      $     583,489       $     1,003,352    $      15,909     $     773,799     $     358,205     $    136,949     $     17,179   $         533    $      582,957      $        -
 Purchases Clearing                                          59,514                  -
 Accrued Vacation                                           199,587              185,774                               62,585              17,353             12,998              12,824                                  35,097                -             19,807            25,110
 Accrued Payroll                                              4,356               65,239                               34,972                 823              1,359                                                      29,405                              (1,320)              -                 -
 Contributions Payable - OFTN.com                               -                    -                                    -
 Outside Manufacturing Payable - OFTN.com                       751                  -                                    -
 Current Portion - Long Term Debt                         1,807,988            1,807,988                              212,262              61,593             15,000                                476,755                                 42,378                            1,000,000                                          476,755
 Customer Deposits                                        1,797,892            3,196,386                            1,980,153             138,719            176,682                (794)           115,237              122,623               500           124,304            486,250           49,180           3,534                           100,610            14,626
 Gift Certificates Payable                                    2,724                  (19)                                                                                            (19)
 Commissions Payable                                            -                    103                                 -                        -              103                                     -                    -                                   -                -                                                 -                 -
 Royalty Payable                                                -                 13,275                                 -                                       -                                                                                                              13,275
 Sales Tax Payable                                           16,805               13,791                               8,716                  -                1,847                   42                    29              -                  -              2,731               161               264                                                   29
 Payroll Taxes Withholding Payable                           57,125              484,807                             225,273               46,259             28,407                 -                                    87,400                -             71,391            26,077
 Garnishment Payable - Wages                                    -                    110                                 -                    110                                    -                                       -                                                     -
 Cafeteria Plan Payable                                       6,992                7,616                               1,629               (1,367)               479                 -                                     3,532                                  -              3,343
 AFLAC                                                            40                 (56)                                (54)                   5               (116)                109                                       0                -                 -                -
 Employee Payables                                            1,455                  -                                   -                                       -
 NY Pd family leave                                             -                    -                                                                                                                                       -                                                                                                       -
Accrued Incentive                                            37,455               26,087                                                                                                                                  17,735                               8,352
 Deferred Income                                            250,000              250,000                                                                                                            250,000                                     -                                   -                                            250,000
 401-K Payable                                                  -                  2,468                                1,386                 159                133                 -                                       789                -                 -                 -                -               -
 Insurance Proceeds                                             -                    -                                    -
 TOTAL CURRENT LIABILITIES                      $         7,558,941    $      10,675,792     $    (307,076)    $    3,751,413       $     724,884     $      399,532     $       204,219      $   1,425,510       $     1,299,933    $      58,786     $     999,064     $    1,912,421    $    186,393     $     20,713   $     727,288    $      683,596      $     14,626

LONG-TERM LIABILITIES
Note Payable - DFC Holdings                      $              -      $              -      $   (5,587,991)   $   11,158,443       $   (2,551,489)   $    (3,379,147)   $       531,912      $   (3,118,856)     $     1,415,572    $          -      $   2,122,827     $     (794,819)   $     (96,676)   $    300,224   $         -      $    (3,118,856) $           -
Note Payable - Bank of Hays / USDA                        6,426,369             6,426,369                                                                                                          6,426,369                                                                                                                   6,426,369
Note Payable - Bank of Hays Add'l                           915,013               888,481                                                                                                            888,481                                                                                                                     888,481
Note Payable - Liberty Enterprises                              (41)                  -                                                                                                                                                         -
Note Payable - FSSW, LLC                                  1,000,000             1,000,000                                                                                                                                                                                     1,000,000
Note Payable - Therien                                          -                     -
Note Payable - Office Expansion/Textile Warehouse           666,540               624,077                          389,738.32           234,338.32
Note Payable - Shareholder                                  121,462               222,178                             146,930                                                            83          75,165                                                                                                                       75,165               -
Note Payable - Sunflower Bank                                   -                       0                                                                                                              0.13                                                                                                                            0
Note Payable - AFLAC Improvements                            68,085                48,299                                                                                                                                                   48,299
Note Payable - Sunflower Bank - Planing M.                  185,036               174,791                                                                                                                                                  174,791
Note Payable - City of Plainville                               -                  (1,000)                             (1,000)
Note Payable - Capital Multiplier Fund                      384,674               392,962                                                                                                           392,962                                                                                                                      392,962
Note Payable - Therien Antiques                                 -                     -                                                                                                                                                                                             -
Note Payable - Liberty Group                                 13,777                12,365                                    (41)                                                                    12,406                                                                                                                       12,406
Note Payable - DFC Holdings                                     -                     -                                                                                                                                                                                                                                              -
Note Payable - Chestnut Street Food Group                       -                  17,399                                                                                                            17,399                                                                                                                       17,399
Bond Fund Payable - Astra                                   573,000               546,031                             486,911                                 59,120
Accrued Interest Payable                                     65,438               407,837         (617,682)           408,324                                  6,621              71,823            326,765               87,719                              82,860             25,069              550          15,789         326,765
Current Portion of Long-Term Debt                        (1,807,988)           (1,807,988)                           (212,262)             (61,593)          (15,000)                              (476,755)                               (42,378)                          (1,000,000)                                        (476,755)
Note Payable - Company Vehicles                               4,336                   -                                   -
 TOTAL LONG-TERM LIABILITIES                     $        8,615,703    $        8,951,802    $   (6,205,674)   $   12,377,043       $   (2,378,743)   $    (3,328,407)   $       603,818      $   4,543,937       $     1,503,291    $     180,713     $   2,205,688     $     (769,750)   $     (96,126)   $    316,013   $   7,662,792    $    (3,118,856) $           -
                                                                -
TOTAL LIABILITIES                               $        16,174,643    $      19,627,594     $   (6,512,750)   $   16,128,456       $   (1,653,859)   $    (2,928,875)   $       808,037      $   5,969,447       $     2,803,224    $     239,499     $   3,204,752     $    1,142,670    $      90,267    $    336,726   $   8,390,080    $    (2,435,260) $        14,626

EQUITY
Common Stock                                    $         2,039,950    $        2,039,950    $      (39,950)   $       10,000       $       10,000    $        9,950     $        10,000      $   2,039,950       $           -      $         -       $          -      $          -      $         -      $        -     $   2,039,950    $          -        $        -
Paid in Capital                                           2,639,079             2,639,079        (2,438,596)                                 1,411                             1,094,528          2,637,668                              1,344,068                                                                             2,637,668
Treasury Stock                                               (8,351)               (8,351)                             (7,474)                (877)
Retained Earnings                                        (4,258,711)           (8,287,080)       5,337,831         (9,077,081)           4,991,068         3,988,701          (1,683,900)         (5,929,938)          (2,112,309)       (1,113,177)       (3,284,047)         811,968            71,200      (287,396)        (5,929,938)
  TOTAL EQUITY                                  $           411,967    $       (3,616,402)   $   2,859,285     $   (9,074,555)      $    5,001,602    $    3,998,651     $      (579,372)     $   (1,252,320)     $    (2,112,309)   $      230,890    $   (3,284,047)   $     811,968     $      71,200    $ (287,396)    $   (1,252,320) $           -        $        -

TOTAL EQUITY & LIABILITIES                      $        16,586,610    $      16,011,192     $   (3,653,465)   $    7,053,900       $    3,347,743    $    1,069,776     $       228,665      $   4,717,127       $      690,915     $     470,389     $     (79,295)    $    1,954,638    $    161,467     $     49,330   $   7,137,761    $    (2,435,260) $        14,626




                                                                                                                                                                             Page 2 of 4
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                                                                                                                                                                                         DFC Holdings, Inc.
                                                                                                                                                                        YTD Consolidated Income Statement
                                                                                                                                                                                              12/31/2018
                                                           12/31/2017          12/31/2018                                                                                                                                 Division Closed                                                    DFC CORP               Division Closed         THERIEN, LLC
                                                                                                  Related                                                                                                                                                             Rose                                                                             San
                                                          YTD                 YTD                Company                                            Liberty           Dessin                                 Palmer           C.S.          DFC Holdings,           Cumming              Chicago     New York           Oak Street     Los Angeles  Francisco
                                                       Consolidated        Consolidated        Transactions     To-The-Trade   Administrative       Group             Fournir        Classic Cloth          Hargrave          Post              Inc.                 Fabric             Showroom     Showroom           Planing Mill    Showroom    Showroom        The Rien Corp         EB Inc.            Kenneth Meyer
REVENUE
Sales Revenue Based on Shipped Sales only (invoiced)   $     12,263,421    $      7,898,257    $         -      $        -     $         -      $             -   $    3,302,050     $   1,350,723      $      611,185    $     121,234     $          -        $    1,127,269      $      219,292   $       -      $             -    $    26,370    $       -     $    967,113      $     111,932          $     61,090
Sales - Misc. Revenue                                           109,007             134,351                                                                                2,366           111,941              16,322              -               (5,278)              2,354                                                                 -              -              -                2,860                 3,786
Commissions Revenue - OFTN                                        4,230                 155                                                                                  155
Commission Revenue                                            1,149,203             989,671         (833,916)                                                              4,238                                                    -                                                      642,529       559,920                           616,900            -
Special Discounts                                               (59,782)           (111,649)                                                                             (77,171)           (7,044)             (5,929)             -                                   (6,111)                                                   -                                       (4,790)           (10,243)                 (360)
Freight Income                                                  778,479             415,719                                                                              227,686            63,318              17,744            3,312                -                52,755                 -                                  -          1,650            -           40,587              3,437                 5,230
Returns & Allowances                                            (17,499)            (33,137)                                                                                 -                 -                (3,390)            (411)                                   -                   -             -                    -                                      (23,156)            (6,180)
TOTAL REVENUE                                          $     14,227,059    $      9,293,367    $    (833,916)   $        -     $         -      $             -   $    3,459,324     $   1,518,938      $      635,932    $     124,134     $       (5,278)     $    1,176,267      $      861,821   $   559,920    $             -    $   644,920    $       -     $    979,754      $     101,806          $     69,746

COST OF SALES
Cost of Sales                                          $      4,769,376    $      3,160,611    $         -      $        -     $         -      $             -   $    1,370,811     $    484,945       $      202,030    $       90,231    $          -        $     349,874       $      215,607   $       -      $             -    $    26,370    $       -     $    364,424      $      49,920          $      6,398
Cost of Sales - Freight                                          91,039              84,346                                                                                  -             42,375                  -                 403                               34,280                4,135                                -                                          -                                      3,153
Commission Expense                                            1,781,610             994,824         (833,916)                                                            833,514          324,817              117,570               -              1,221             262,552                             25,740                                                         230,867             19,200                13,260
Short/Long Pieces                                                 4,815               7,890                                                                                                 3,265                                                                       4,404                                                                                                                                         221
Shop Materials                                                    4,403               1,759                                                                                                                      1,724                                                                                                            -                                                                                    36
Applied Overhead                                                    -                   -                                                                                    -                                     -
Royalty Expense                                                  93,186              64,309                                                                               28,903                                 9,135                                                                                                                                                    30,107             (3,836)
Manufacturing & P.O. Variance                                         1                 249                                                                                  -                                     249               -                                    -                    -             -                    -            -              -               (0)               -
Inventory Adjustments                                            21,945              22,652                                                                               11,706                                 8,817               702                                  264                  -             -                    -            -              -            1,164                -
TOTAL COST OF SALES                                    $      6,766,373    $      4,336,640    $    (833,916)   $        -     $         -      $             -   $    2,244,934     $    855,402       $      339,525    $       91,336    $        1,221      $     651,374       $      219,741   $    25,740    $             -    $    26,370    $       -     $    626,562      $      65,284          $     23,068
                                                                  47.6%               46.7%                                                                                  65%              56%                  53%               74%              -23%                55%                                                                                                64%                64%                   33%
GROSS PROFIT                                           $      7,460,686    $      4,956,727    $         -      $        -     $         -      $             -   $    1,214,390     $    663,536       $      296,407    $       32,798    $       (6,499)     $     524,893       $      642,080   $   534,180    $             -    $   618,550    $       -     $    353,192      $      36,522          $     46,678

OPERATING EXPENSE
Advertising &Promotions                                $         18,797    $         61,436    $         -      $        -     $         -      $             -   $       50,518     $        462       $          309    $        1,611    $         -         $          694      $         -      $       -      $             -    $     7,766    $       -     $            60   $             -        $            16
Amortization Expense                                             31,626              31,754                                                                                1,670                                 1,319               -             27,250                1,515                -                                                -              -
Bank Charges                                                      5,445               5,709                                                                                  803              510                  185                 72           2,570                  160                359                                148           657            -              135                        10            100
Cash Short / (Long)                                                 179               1,350                                                                                                                                        1,350
Client Calls / Resolutions                                       17,477               4,566                                                                                  -                -                                                                         1,100                1,641         1,583                               242            -              -
Contributions                                                     1,469               1,234                                                                                  425              -                    -                 321                                  -                    -             -                   -             -              -              488
Contract Labor                                                   65,950             114,999                                                                               19,369              -                    -                 214                                  (65)               3,125        53,125                 -          39,230            -              -
Credit Card Processing Charges                                  178,090             122,783                                                                               58,228           22,085               11,525             3,641                               15,218                  -                                 -                                        10,877              1,210
Depreciation Expense                                            237,105             242,280                                                                               61,915           26,109                4,866               328            2,751                 447                7,620        60,706              16,177        43,671            -           16,580                                    1,110
Display                                                          57,690              24,550                                                                               11,285                15                 -                 140                                    23               3,463             65                            9,559            -              -                                        -
Dues & Subscriptions                                              3,413               3,163                                                                                2,562              -                    -                 324                                  -                      1           -                    -              62           -              -                                        215
Education & Training Expense                                     11,341                 -                                                                                    -                                     -                 -                                                         -             -                    -            -              -              -
Employee Benefits                                               417,910             382,193                                                                              215,945           27,048               25,942            10,713                                       46           17,966        27,855                  -         32,640            -           18,789                                    5,249
  Employee Benefits (Re- Allocated)                                 -                   -                             22,250          79,348            19,237          (115,898)                                                                                                                         (4,938)
Finish Sample Expenses                                            1,783               1,495                                                                                1,025                                   470               -                                                                                                                                       -                      -
Fuel & Auto Expense                                              26,856              13,193                                                                                5,997               -                   -                 569                                   -                 2,844           -                    -          1,904            -            1,879
Freight Out - Jobs                                              488,385             320,173                                                                              239,734                                29,328               659                                                     1,549           -                    -                                       37,021             11,883                   -
Freight In and Out - Models                                      80,065              97,465                                                                               71,123                                 8,669               -                                                                                                                                    15,892              1,781
Freight - Other                                                  38,595              17,514                                                                                4,223                   31            7,600               822                                   -                   -            -                                3,911            -              727                200
Insurance - General                                             115,417             104,101                                                                                  -                 -                   -               9,534           88,814                  -                   -            389                   -            -            5,097            267                                      -
Insurance - Workmans Comp                                       118,018              88,808                                                                                     0              -                   -                 230           88,572                  -                   -            -                     -              6            -              -
Insurance - Officers Life                                        57,193              53,465                                                                               50,802                                                                    2,663                                                                                                                    -
Legal & Professional                                            186,385             163,800                                                                                2,476              368                  368               -            148,025                  -                   -             269                  -         16,496            -           (4,200)                   -
Lease/Rent Expense                                            1,812,312           1,950,924          (43,536)                                                            201,220           43,536                  -              46,597                                   -               416,944       408,289                  -        599,157        143,906        134,811
Maintenance & Repairs                                            65,592              41,290                                                                               12,866            2,072                  398               -                 -                   591                 168         3,775                  -         14,181          2,845          4,392                                      -
Meals & Entertainment                                            35,644              16,591                                                                               13,738                52                   23              -                 -                   873                 558           200                  -            966            -              180                -                     -
Miscellaneous Expense                                               161              10,351                                                                                    (0)            -                    -                 -                 -                     45                -             -                    -            184            -            1,522              8,600                   -
New Model Development                                             3,443               1,629                                                                                  487              727                  -                 -                                     415                                                    -                                          -
Obsolete/Breakage & Spoilage                                     60,697               1,595                                                                                  -                -                    -               1,595                                   -                                                                                                 -
Office Cleaning                                                  10,350               6,545                                                                                3,930              -                                      -                                     -                   -             -                                 -              -            2,615
Office Expense                                                   89,729              78,423                                                                               29,093           10,449                2,109               124           10,662                9,259               5,818         3,056                  -          3,212            -            2,015                        25          2,600
Payroll Taxes                                                   334,399             318,167                                                                              155,233           27,187               17,270             3,871              -                    -                18,584        37,035                  -         36,246            -           18,891                                    3,850
 Payroll Taxes (Re-allocated)                                       -                   -                             10,915          42,834             8,650           (61,657)                                                                                                                           (742)
Postage & Freight                                                43,154              45,443                                                                               10,058             2,443                 628               199                   39             640               10,274         9,389                  -          6,810            -            3,921                265                   776
Problem Resolutions                                                 148                 269                                                                                                                                                                                                    -                                               269
Promotions                                                       22,388              10,273                                                                                  360               -                   -                 -                                     -                   684          170                              9,059            -              -                  -
Prototype Expense                                               (25,901)            (25,926)                                                                             (29,022)                                2,590               -                                     -                                                      -                                          325                180
Repairs on Goods Sold                                            45,993              15,636                                                                               15,966                                   750               -                                                                                            -                                       (3,538)             2,459
Repairs on Inventory                                             89,765              62,618                                                                               37,628                                   -                 -                                                                                                                                    24,990
Royalty Expense                                                  12,000               9,000                                                                                                                                                                             9,000
Sales Incentives                                                  2,583                 168                                                                                  -                -                    -                 -                                    168
Sales & Marketing                                                36,271              23,925                                                                                3,788              665                  -                                   -                  -                    -             -                              19,278            -              -                      -                 195
Samples Wings / Related Freight                                  81,791              82,824                                                                                3,288           39,361                                                                      40,091                                                                                                                                           85
Supplies - Office                                                25,225              12,974                                                                                6,500            1,254                  956               258               -                1,325                1,088          428                   -                                        1,167                    -                 -
Supplies - Other                                                 54,789              31,446                                                                                6,781            5,184                7,827               926               -                5,899                  -            -                     -          3,227            -              673                    -                 929
Supplies - Upholstery                                            (3,219)                -                                                                                    -
Supplies - Finish Shop                                              136                 477                                                                                  477




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                                                       12/31/2017          12/31/2018                                                                                                                               Division Closed                                               DFC CORP                Division Closed           THERIEN, LLC
                                                                                              Related                                                                                                                                                        Rose                                                                              San
                                                      YTD                 YTD                Company                                             Liberty           Dessin                             Palmer            C.S.          DFC Holdings,        Cumming            Chicago     New York            Oak Street      Los Angeles   Francisco
                                                   Consolidated        Consolidated        Transactions     To-The-Trade    Administrative       Group             Fournir       Classic Cloth       Hargrave           Post              Inc.              Fabric           Showroom     Showroom            Planing Mill     Showroom     Showroom             The Rien Corp        EB Inc.        Kenneth Meyer
Taxes & Licenses                                            161,276             238,578                                                                                44,906          10,071            12,190             10,015            7,970           19,433             13,852        24,130               10,287          67,536            13,095            4,893               149                    50
Telephone                                                    82,205              72,844                                                                                27,870           4,225             1,980              1,444                             1,315              7,797         7,108                  -             5,063               -             16,043               -                  -
Tools & Hardware                                                925                 687                                                                                     24            -                 663                -                                 -                                                     -                                                  -
Travel                                                      100,899              48,027                                                                                38,201             -                 -                 (125)             656              351              2,347            68                  -             6,466                -                 62                  -              -
Utilities                                                   175,284             153,729                                                                                42,130          21,225            11,045              3,297                             4,032              8,054        22,855                  -            25,698              7,468           7,925
Uniforms & Towels                                            12,835               9,456                                                                                 9,456                                                                                                                                          -                                                  -
Upholstery Materials                                            315                 -                                                                                     -                                                                                                                                                                                               -
Wages & Salaries                                          4,107,831           3,990,922                                                                             1,938,025         324,547           216,441             49,715              -                 -             259,749        507,627                  -          410,053                -           237,264                              47,500
 Wages & Salaries (Re-allocated)                                -                   -                            312,658          557,958           108,125          (793,241)                                                                                                                (185,500)
Showroom Staff - Sales Commissions                          191,997                   20                                                                                  -                                                                                                         -              -                                        20
Applied Overhead                                         (1,129,488)           (501,523)                                                                             (291,631)        (51,831)          (70,090)                                              (19,162)                                                 -                                              (58,242)           (10,567)              -
Applied Labor                                              (133,257)            (63,259)                                                                              (28,652)                          (34,607)                                                                                                       -                                                  -
TOTAL OPERATING EXPENSES                           $      8,541,673    $      8,486,339    $     (43,536)   $    345,823    $     680,140    $      136,012    $    2,044,215    $    519,234    $      266,034     $     148,441     $     379,973    $      93,413     $      784,778   $   976,942     $         26,611    $   1,367,450      $   172,412     $    509,527     $      16,195      $     62,674

NET INCOME FROM OPERATIONS                         $     (1,080,987)   $     (3,529,613)   $     43,536     $   (345,823)   $    (680,140)   $     (136,012)   $     (829,825)   $    144,302    $       30,373     $     (115,643)   $    (386,472)   $     431,480     $     (142,699) $    (442,761)   $        (26,611)   $   (748,901) $        (172,412)   $    (156,335)   $      20,327      $     (15,997)

OTHER INCOME & EXPENSE
Interest Income                                    $          1,181    $            -      $    (412,820)   $        -      $         -      $             -   $          -      $        -      $           -      $          -      $     412,820    $          -      $          -     $        -      $            -      $         -        $        -      $         -      $             -    $         -
Gain / Loss Sale of Assets                                  119,845              30,354                                                                                29,954                                                  400                                                  -                                  -                                                   -                    -              -
Scrap Account                                                   -                   -                                                                                     -                                 -                                                                                                          -                                                                        -
Other Income                                                 47,522             115,595                                                                                42,000          64,000               927                113              147               -                 -              -                 8,393                  15            -                -                    -              -
  Other Income - Billed Graphics Time                        10,907                 -               -                                                                     -                                                                                                                                                                                                                     -
Lease Income                                                126,534             107,298         (43,536)                                                               43,536                                               12,000              -                                                                      -             25,530                             69,768                  -
Interest Expense                                           (742,123)           (727,683)        412,820                                                              (402,647)        (39,630)            (5,119)          (37,510)        (463,078)            (529)            (3,122)       (24,066)            (12,486)         (73,179)           (4,684)         (66,545)                 -           (7,907)
TOTAL OTHER INCOME & EXPENSE                       $       (436,136)   $       (474,437)   $    (43,536)    $        -      $         -      $             -   $     (287,157)   $     24,370    $        (4,192)   $      (24,997)   $     (50,112)   $        (529)    $       (3,122) $     (24,066)   $         (4,092)   $     (47,634) $         (4,684)   $       3,223    $             -    $      (7,907)

NET INCOME                                         $     (1,517,123)   $     (4,004,049)   $         -      $   (345,823)   $    (680,140)   $     (136,012)   $   (1,116,982)   $    168,671    $       26,182     $     (140,640)   $    (436,584)   $     430,951     $     (145,821) $    (466,828)   $        (30,704)   $   (796,535) $        (177,097)   $    (153,112)   $      20,327      $     (23,904)




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